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FILLMORE HERITAGE CENTER EQUITY PARTNERS
             ACTIVATION PLAN

            DRAFT - SEPTEMBER 11, 2018
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                     ACTIVATION SUMMARY

At least 200 events scheduled between October 6 - April 30

Over 22,000 total attendees for Thursday - Saturday events

 Over 5,000 total attendees for Sunday - Wednesday events

12 promoters with direct Fillmore Heritage Center experience

      Over 25 signed promoter Statements of Interest

                            WORKSHOPS

               2 FTE housing counselors on site

       At least 48 financial empowerment workshops

         Over 250 credit repair workshop attendees

       Over 200 rental readiness workshop attendees

   Over 1,100 first-time homebuyer workshop attendees



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FILLMORE HERITAGE CENTER EQUITY PARTNERS



                                ACTIVATION PLAN - OVERVIEW



   The Fillmore Heritage Center Equity Partners (the “Partners”) will ignite a new era of economic
   and cultural revitalization in the Fillmore District through the immediate activation of the
   Fillmore Heritage Center as an anchor for the commercial corridor, followed by a community-
   driven purchase of the property and conversion to a historic preservation site celebrating Black
   culture, opportunity and equity. Our mission is to rebuild the Fillmore Heritage Center in the
   image of the community it was intended to serve.

   1. The Partners propose a 4-6 week period of access permitted by the City, during which
   we will conduct a thorough inventory of all hardware and amenities, perform due diligence
   on the proposed activation plan, provide notice for and obtain a Place of Entertainment
   permit, obtain an Alcoholic Beverage License and offer community services such as voter
   registration, housing counseling referrals, demographic surveys, training in event production
   and application assistance for anticipated jobs during the activation period.

   2. Following the initial due diligence period, the Partners will enter a six-month lease with the
   City to activate the Fillmore Heritage Center on a daily basis through daytime and nighttime
   programming and hosting administrative office space for nonprofits and Fillmore community
   leaders.

   During the occupancy and activation of the Fillmore Heritage Center, we will achieve the
   following outcomes:


   ACCESS PERIOD (4-6 weeks)

   •   We will perform a complete inventory and due diligence on all facility equipment by
       September 30, including conducting inspections, testing all kitchen appliances, audio/video
       equipment and facility infrastructure for readiness, and applying for and obtaining permits.

   •   We will provide a detailed report to the City regarding the status of all venue hardware,
       accessories and infrastructure by September 30, with recommendations on any necessary
       repairs and/or maintenance required for permit approval.

   •   We will provide voter registration services to visitors in the Gallery from October 1 through
       April 30, 2019. Additionally, we will provide the public with detailed information on the
       Activation Plan, conduct qualitative and quantitative surveys, initiate housing counseling
       and workshops, provide referrals and financial empowerment services, collect demographic
       information and distribute Statement of Interest forms to potential collaborators.

   •   In late September, the Partners will launch a new website (www.fillmoreheritagecenter.org)
       to inform the community of the vision for activation of the Fillmore Heritage Center, solicit
       philanthropic contributions and offer opportunities for interested parties to get involved.

   •   A reception desk clerk will be staffed by October 1 to maintain a Partner presence in the
       gallery space, Monday-Friday from at least 12-5pm.



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ACTIVATION PERIOD (6 months)

•   The Partners will generate sufficient revenue through events, rental fees, grants and other
    philanthropic donations to sustain profitable venue operations on an ongoing basis.

•   Throughout the activation period, the Partners will host an average of 10 high profile
    promoter-led events at the venue per month -- including live music, comedy and spoken
    word -- generating an average of $8,000 in net income and attracting an average of 300
    attendees per event (see p.17 for featured promoter profiles).

•   Beginning in October, we will present an average of 9 Partner-organized events per month,
    including 2-3 holiday-themed celebrations in December, generating an average of $14,000
    in net income and attracting an average of 300 attendees per event.

•   Working in collaboration with promoters, nonprofits, local media and grassroots community
    organizations, the Partners will host happy hours, brunches, DJ parties, gallery openings,
    literary readings, live broadcasts and a wide array of workshops to ensure daily activation
    that provides direct community benefit.

September

•   The Partners will launch a substantial PR and marketing campaign involving print, radio
    and digital advertising, as well as a press release and media strategy for a ribbon cutting
    ceremony on October 6 that will receive prominent, positive media coverage in local news
    outlets including the Chronicle, the Examiner, broadcast media and online sources.

•   SFHDC will staff a Daytime General Manager for at least 20 hours per week, increasing to a
    minimum of 35 hours per week by October 1.

October

•   SFHDC’s Financial Empowerment Center (“FEC”) will maintain 2 FTEs at a minimum of 35
    hours per week of on-site staffing to conduct workshops and housing counseling services.

•   The FEC will host a minimum of 2 housing and financial empowerment workshops per
    month, including a homebuyer workshop with an average of 40 attendees per event.

•   NCLF will staff a Nighttime General Manager for at least 20 hours per week, increasing to a
    minimum of 35 hours per week by November 1.

•   NCLF will manage the Screening Room on behalf of the Partners by hosting events
    and rentals on a weekly basis and build capacity in preparation for the potential future
    ownership of the Screening Room.

•   The Partners will sublease restaurant and kitchen space on a short-term basis to carefully
    selected food entrepreneurs and chefs providing lunch and dinner food service in
    coordination with event planning.

•   The second floor administrative office space will be cleaned and fully equipped, and will
    have full occupancy with 15 workstations by November.



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November

•   By November 1, the Partners will sublease all available kitchen space to 3-4 food vendors
    to provide continuous service of breakfast, lunch and dinner to an average of 200 patrons
    per day with additional opportunities for private catering, pop-up restaurant events and
    “grab and go” kiosks.

•   We will host religious services each Sunday for one or more organizations, as well as
    weekday Bible study, attracting a minimum of 100 attendees per Sunday service and 75
    Bible study attendees.

•   The FEC will conduct a minimum of 4 free financial empowerment workshops per month
    covering topics like credit repair, debt reduction, rental readiness and a comprehensive
    financial empowerment bootcamp with ongoing referrals to housing counselors, providing
    service to an average of 40 attendees per event.

December

•   We will offer a minimum of 2 technology, media and entertainment workforce development
    workshops per month, in which an average of 12 attendees are provided high-skilled
    training, as well as advised on job application procedures and best practices.

•   NCLF will conduct 4 educational and community development workshops per month for
    local transitional age youth (“TAY”) in business management and trainings in audio and
    video production, computer literacy, security, janitorial services and event production.

•   NCLF will conduct 1 writing competition per month for current or aspiring TAY rap and R&B
    artists, consisting of 4 writing workshops per month.

•   The Partners will host 2-3 holiday parties and a New Years Eve event, attracting an average
    of 400 attendees and generating an average of $50,000 in sponsorship revenue per event.

January

•   The FEC will host a weekly series of free Volunteer Income Tax Assistance (VITA) services at
    the venue, drawing an average of 30 attendees per event and resulting in over $150,000 in
    tax refunds for Fillmore District residents.

•   HHP will host an average of 4 free computer literacy classes per month, drawing an average
    of 10 unduplicated attendees per class.

•   Throughout 2019, SFHDC will apply for a minimum of 2 new grants per month dedicated to
    enhancing programming at the Fillmore Heritage Center, resulting in the award of at least
    25% of grants and generating sufficient revenue to sustain a minimum of 2 FTE financial
    empowerment counselors by March 2019.

February

•   The Partners will host and work through promoters to celebrate Black History Month with
    nightly programming, attracting an average of 1,500 attendees per week and culminating in
    a Gala event featuring a nationally-recognized keynote speaker and honoree.

•   The Partners will host a Valentine’s Day Celebration with renowned artist, Michael Franti, in
    support of his nonprofit Do It For The Love.
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                            SEPTEMBER
ACTION ITEMS

- Apply for Entertainment Commission Place of Entertainment Permit
- Post 30-day notice and secure time on EC meeting calendar
- Submit application for ABC Liquor License
- Execute 6-month lease with the City, including 1-month ramp-up period

INVENTORY & DUE DILIGENCE

Kitchen:
- Test all stoves, freezers, fans, ice coolers, sinks, plumbing and lights
- Compile inventory of all dishware, glassware, pots and pans, silverware, serving utensils, etc.
- Conduct Food and Beverage Permit inspection

Restaurant & Lounge:
- Test POS hardware and software, house lights, TVs, etc.
- Compile inventory of all tables, chairs, linens and modular furnishings

Auditorium:
- Test audio mixing board, front of house sound, monitors, backline and recording equipment
- Test lighting board, lighting grid, house lights, stage lights and motion dance floor lights
- Conduct preliminary Place of Entertainment Permit walk through and checklist

Administrative Offices:
- Remove and securely store legacy Yoshi’s/Addition documents and computers in hallway cages
- Set up phone and internet service; test copiers and other office equipment

Screening Room:
- Test video projector, audio system, microphones and computer inputs

Gallery:
- Compile inventory of tables, chairs and office materials; set up phone and internet service

PUBLIC RELATIONS & MARKETING

- Submit press release via PR Newswire and conduct interviews with local and regional media
- Initiate print/digital media advertising campaign in Examiner, SF Weekly and New Fillmore
- Conduct interviews and run promotional spots on KPOO, KBLX, KFOG, KQED, etc.
- Develop long-term marketing plan through Facebook, Pandora Radio, Spotify and Tunein Radio

COMMUNITY DEVELOPMENT

- Establish and promote voter registration services for walk-in clients
- Conduct qualitative and quantitative community surveys to inform programming and services
- Refer and schedule housing counseling services to Bayview and Success Center locations
- Distribute Statement of Interest forms and assist with workforce applications

SUBTENANT LEASE UP

- Conduct venue tours, evaluate community benefit statements and negotiate lease terms

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                                   OCTOBER
EVENTS

10/06 (Sat)   - Fillmore Heritage Center Launch Party & Ribbon Cutting (FHCEP)
10/12 (Fri)   - Dinner And A Movie: San Francisco Black Film Festival
10/19 (Fri)   - Promoter Event TBD / Gallery Opening
10/20 (Sat)   - Promoter Event TBD
10/27 (Sat)   - Promoter Event TBD

(The above events are Single Night Entertainment Licenses and Alcoholic Beverage Permits)

WORKSHOPS

10/04 (Thu)   - Credit Matters, Part 1
10/04 (Thu)   - Intro To Venue Operations Workshop
10/09 (Tue)   - Community Benefits Workshop and FAQ (DBL Associates)
10/10 (Wed)   - Fillmore Heritage Center Job Fair and Application Assistance
10/11 (Thu)   - Money Matters! “Keep Your Mind on Your Money”
10/11 (Thu)   - Intro To Food Service Workshop
10/18 (Thu)   - First Time Homebuyer Workshop (Required for MOH Certificate)
10/25 (Thu)   - Homeownership Series: Are You Ready? (Part 1 of 4)

PUBLIC RELATIONS & MARKETING

- Provide behind the scenes media access for Launch Party
- Advertising in Chronicle, Examiner, SF Weekly, New Fillmore, Facebook, Pandora Radio, Spotify
  and Tunein Radio; promotional spots in KPOO, KBLX, KFOG
- Publish and distribute 6-month calendar to Fillmore residents
- Open House venue tours for the general public
- Get Out The Vote Campaign

COMMUNITY DEVELOPMENT

- Continue voter registration services for walk-in clients
- Publish results of community surveys and 2018 programming schedule
- Initiate on-site workshops and 1:1 housing counseling sessions
- Publish job availabilities and promote Fillmore Heritage Center Job Fair
- Outreach to Fillmore Heritage Center Homeowners Association

SUBTENANT LEASE UP

- Sign 6-month leases for administrative offices
- Secure short-term leases for food vendors and catering for all events
- Begin weekly religious services
- Initiate pop-up restaurant events

ADMINISTRATIVE

- Post notice of Place of Entertainment permit application
- Conduct kitchen and venue health and fire inspections
- Attend hearings and file paperwork for Entertainment Commission and ABC
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                             NOVEMBER
EVENTS

11/02 (Fri)   - Happy Hour with Chuy Gomez, 5pm-10pm, Omolara Ent.
11/03 (Sat)   - Fall Back: Daylight Savings Jam
11/04 (Sun)   - Brunch Service, 11am-3pm
11/04 (Sun)   - Oldies Party, 3pm-7pm
11/06 (Tue)   - Taco Tuesday in the Lounge, 4pm-10pm, Happy Hour Menu - DJ Black Marc 106.1
11/06 (Tue)   - Election Night Party - Wear Your Sticker!
11/07 (Wed)   - Cool Hand Cam Reggae Night in the Lounge (4-10pm) Happy Hour Food by Isla Vida
11/07 (Wed)   - Reggae Extension in Theater - 10pm-2am - DJ Smoke (Reggae Gold)
11/08 (Thu)   - BAMM.tv Presents: Con Brio (Live Video Taping)
11/09 (Fri)   - Happy Hour - Chuy Gomez, 5pm-10pm, Omolara Ent.
11/09 (Fri)   - Dinner And A Movie: Bay Area Video Coalition
11/09 (Fri)   - Fiya Fridays by Nia Soul (Pia) Reggae Dance and Concert (Main Auditorium)
11/10 (Sat)   - Fillmore Slim Birthday Party
11/11 (Sun)   - Brunch Service, 11am-3pm
11/11 (Sun)   - Oldies Party, 3pm-7pm
11/11 (Sun)    - Personal Touch event (TBD)
11/13 (Tue)   - Taco Tuesday in the Lounge, 4pm-10pm, Happy Hour Menu - DJ Black Marc 106.1
11/13 (Tue)   - Tuesday Bluesday Jam
11/13 (Tue)   - COP Club - Dinner Date Night
11/14 (Wed)   - Cool Hand Cam Reggae Night in the Lounge (4-10pm) Happy Hour Food by Isla Vida
11/14 (Wed)   - Reggae Extension in Theater - 10pm-2am - DJ Smoke (Reggae Gold)
11/16 (Fri)   - Happy Hour with Chuy Gomez, 5pm-10pm, Omolara Ent.
11/16 (Fri)   - Slam City! National Poetry Slam Competition (in assoc. with Paint a Picture Poets)
11/16 (Fri)   - TasteMakers R&B event
11/17 (Sat)   - TasteMakers R&B event
11/18 (Sun)   - Brunch Service, 11am-3pm
11/18 (Sun)   - Essential Beauty Lounge; Bay’s Best Laid/Barber Battle
11/18 (Sun)   – NCLF and SF Beautiful Present: 40 Years After Jonestown
11/20 (Tue)   - Taco Tuesday in the Lounge, 4pm-10pm, Happy Hour Menu - DJ Black Marc 106.1
11/20 (Tue)   - Tuesday Bluesday Jam
11/21 (Wed)   - Cool Hand Cam Reggae Night in the Lounge (4-10pm) Happy Hour Food by Isla Vida
11/21 (Wed)   - Reggae Extension in Theater - 10pm-2am - DJ Smoke (Reggae Gold)
11/21 (Wed)   - Personal Touch event (TBD)
11/22 (Thu)   - Thanksgiving Dinner And A Movie
11/23 (Fri)   - Happy Hour with Chuy Gomez, 5pm-10pm, Omolara Ent.
11/23 (Fri)   - TasteMakers Jazz event
11/24 (Sat)   - TasteMakers R&B event
11/25 (Sun)   - Brunch Service, 11am-3pm
11/25 (Sun)   - Oldies Party, 3pm-7pm
11/27 (Tue)   - Taco Tuesday in the Lounge, 4pm-10pm, Happy Hour Menu - DJ Black Marc 106.1
11/27 (Tue)   - Tuesday Bluesday Jam
11/28 (Wed)   - Reggae Night in the Lounge (4-10pm) Happy Hour Food by Isla Vida
11/28 (Wed)    - Reggae Extension in Theater - 10pm-2am - DJ Smoke (Reggae Gold)
11/29 (Thu)   - Office Party: Meet the Tenants of the Fillmore Heritage Center
11/30 (Fri)   - Happy Hour with Chuy Gomez, 5pm-10pm, Omolara Ent.
11/30 (Fri)   - TasteMakers R&B event
11/30 (Fri)   - Tonya Love Presents: A Night of Dance, Funk and R&B


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                                  NOVEMBER

WORKSHOPS

11/01 (Thu)   - Credit Matters, Part 2
11/01 (Thu)   - Intermediate Venue Operations Workshop
11/06 (Tue)   - Overview of Affordable Housing Opportunities in San Francisco
11/07 (Wed)   - Fillmore Heritage Center Job Fair and Application Assistance
11/08 (Thu)   - Student Loan Debt Workshop
11/13 (Tue)   - Community Benefits Workshop and FAQ (DBL Associates)
11/14 (Wed)   - Fillmore Heritage Center Job Fair and Application Assistance
11/15 (Thu)   - First Time Homebuyer Workshop (Required for MOH Certificate)
11/15 (Thu)   - Intermediate Food Service Workshop
11/29 (Thu)   - Homeownership Series: Are You Ready? (Part 2 of 4)

PUBLIC RELATIONS & MARKETING

- Release first trailor for Fillmore Heritage Center documentary
- Advertising in Chronicle, Examiner, SF Weekly, New Fillmore, Facebook, Pandora Radio, Spotify
  and Tunein Radio; promotional spots in KPOO, KBLX, KFOG

COMMUNITY DEVELOPMENT

- Establish and promote voter registration services for walk-in clients
- Conduct qualitative and quantitative community surveys to inform programming and services
- Distribute Statement of Interest forms and assist with workforce applications

SUBTENANT LEASE UP

- Secure leases with multiple culinary/catering tenants
- Full lease up of 15 administrative offices
- Finalize booking on Promoter Events through February 2019
- Finalize booking on Screening Room through February 2019
- Finalize booking on Gallery exhibits through February 2019

ADMINISTRATIVE

- New Markets Tax Credits technical assistance
- Private investor outreach and due diligence
- HOA aggreement research and analysis re: CAM fees




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                               DECEMBER
EVENTS

12/01 (Sat)   - The Darryl Reed Foundation Presents Old School Cool with M.C. Hammer
12/02 (Sun)   - Brunch Service, 11am-3pm
12/02 (Sun)   - Oldies Party, 3pm-7pm
12/04 (Tue)   - Taco Tuesday in the Lounge, 4pm-10pm, Happy Hour Menu - DJ Black Marc 106.1
12/04 (Tue)   - Tuesday Bluesday Jam
12/05 (Wed)   - Reggae Night in the Lounge - 4pm-10pm - Happy Hour Food by Isla Vida
12/05 (Wed)   - Reggae Extension in Theater - 10pm-2am - DJ Smoke (Reggae Gold)
12/07 (Fri)   - Happy Hour with Chuy Gomez, 5pm-10pm, Omolara Ent.
12/07 (Fri)   - TasteMakers Jazz event/ Gallery Opening
12/08 (Sat)   - SFHDC Holiday Party - Featuring Kenny Neal and Tia Carroll
12/09 (Sun)   - Brunch Service, 11am-3pm
12/09 (Sun)   - Oldies Party, 3pm-7pm
12/11 (Tue)   - Taco Tuesday in the Lounge, 4pm-10pm, Happy Hour Menu - DJ Black Marc 106.1
12/11 (Tue)   - Tuesday Bluesday Jam
12/12 (Wed)   - Reggae Night in the Lounge (4-10pm) Happy Hour Food by Isla Vida
12/12 (Wed)   - Reggae Extension in Theater - 10pm-2am - DJ Smoke (Reggae Gold)
12/13 (Thu)   - COP Club - Dinner Date Night
12/14 (Fri)   - Happy Hour with Chuy Gomez, 5pm-10pm, Omolara Ent.
12/14 (Fri)   - Dinner And A Movie: San Francisco Black Film Festival
12/15 (Sat)   - Gospel Concert and Event With Churches From The Entire Bay Area
12/16 (Sun)   - Brunch Service, 11am-3pm
12/16 (Sun)   - Oldies Party, 3pm-7pm
12/18 (Tue)   - Taco Tuesday in the Lounge, 4pm-10pm, Happy Hour Menu - DJ Black Marc 106.1
12/18 (Tue)   - Tuesday Bluesday Jam
12/19 (Wed)   - Reggae Night in the Lounge (4-10pm) Happy Hour Food by Isla Vida
12/19 (Wed)   - Reggae Extension in Theater - 10pm-2am - DJ Smoke (Reggae Gold)
12/21 (Fri)   - Happy Hour with Chuy Gomez, 5pm-10pm, Omolara Ent.
12/21 (Fri)   - Slam City! National Poetry Slam Competition (in assoc. with Paint a Picture Poets)
12/21 (Fri)   - TasteMakers Holiday Event
12/22 (Sat)   - TasteMakers R&B event
12/23 (Sun)   - Brunch Service, 11am-3pm
12/23 (Sun)   - Oldies Party, 3pm-7pm
12/23 (Sun)   - Toy Giveaway
12/24 (Mon)   - Christmas Eve Services
12/26 (Wed)   - Reggae Night in Cocktail Lounge - 4pm-10pm - Happy Hour Food by Isla Vida
12/26 (Wed)   - Reggae Extension in Theater - 10pm-2am - DJ Smoke (Reggae Gold)
12/27 (Thu)   - The Village Project Presents: Kwanzaa – Umoja, Ujima, Ujamaa (Main Auditorium)
12/28 (Fri)   - Happy Hour with Chuy Gomez, 5pm-10pm, Omolara Ent.
12/28 (Fri)   - Community Event
12/29 (Sat)   - TasteMakers R&B event
12/30 (Sun)   - Brunch Service, 11am-3pm
12/30 (Sun)   - Oldies Party, 3pm-7pm
12/31 (Mon)   - New Year’s Eve Party

(Note: 12/6, 12/13, 12/20 and other dates on hold for corporate holiday rentals)




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                                   DECEMBER


WORKSHOPS

12/04 (Tue)   - #TechJobs Workforce Development, Part 1
12/04 (Tue)   - Overview of Affordable Housing Opportunities in San Francisco
12/05 (Wed)   - Community Benefits Workshop and FAQ (DBL Associates)
12/06 (Thu)   - Credit Matters, Part 1
12/06 (Thu)   - Intro To Venue Operations Workshop
12/07 (Fri)   - Rap / R&B Writing Workshop
12/11 (Tue)   - Fillmore Heritage Center Job Fair and Application Assistance
12/12 (Wed)   - Money Matters! “Keep Your Mind On Your Money”
12/13 (Thu)   - Rental Readiness
12/13 (Thu)   - Intro To Food Service Workshop
12/18 (Tue)   - Educators Housing Clinic
12/04 (Tue)   - #MediaMatters Workforce Development, Part 1
12/20 (Thu)   - First Time Homebuyer Workshop (Required for MOH Certificate)
12/20 (Thu)   - Intermediate Venue Operations Workshop
12/27 (Thu)   - Homeownership Series: Are You Ready? (Part 3 of 4)
12/27 (Thu)   - Intermediate Food Service Workshop

PUBLIC RELATIONS & MARKETING

- Release second trailor for Fillmore Heritage Center documentary
- Advertising in Chronicle, Examiner, SF Weekly, New Fillmore, Facebook, Pandora Radio, Spotify
  and Tunein Radio; promotional spots in KPOO, KBLX, KFOG

COMMUNITY DEVELOPMENT

- Toy Giveaway and Secret Santa events
- Expand workforce development workshops and trainings

SUBTENANT LEASE UP

- All commercial space fully leased through April 2019
- Finalize booking on Promoter Events through April 2019
- Finalize booking on Screening Room through April 2019
- Finalize booking on Gallery exhibits through April 2019

ADMINISTRATIVE

- New Markets Tax Credits technical assistance
- Private investor outreach and due diligence
- HOA aggreement research and analysis re: CAM fees
- End-of-year evaluation and report to City
- Lease extension and negotiation of CAM fees




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                                  JANUARY
EVENTS

01/01 (Tue)   - Taco Tuesday in the Lounge, 4pm-10pm, Happy Hour Menu - DJ Black Marc 106.1
01/01 (Tue)   - Tuesday Bluesday Jam
01/02 (Wed)   - Reggae Night in the Lounge (4-10pm) Happy Hour Food by Isla Vida
01/02 (Wed)   - Reggae Extension in Theater - 10pm-2am - DJ Smoke (Reggae Gold)
01/03 (Thu)   - Velma Landers Presents: Blues for a Cause
01/04 (Fri)   - Happy Hour with Chuy Gomez, 5pm-10pm, Omolara Ent.
01/04 (Fri)   - TasteMakers R&B event
01/05 (Sat)   - TasteMakers R&B event
01/06 (Sun)   - Brunch Service, 11am-3pm
01/06 (Sun)   - Oldies Party, 3pm-7pm
01/08 (Tue)   - Taco Tuesday in the Lounge, 4pm-10pm, Happy Hour Menu - DJ Black Marc 106.1
01/08 (Tue)   - Tuesday Bluesday Jam
01/09 (Wed)   - Reggae Night in the Lounge (4-10pm) Happy Hour Food by Isla Vida
01/09 (Wed)   - Reggae Extension in Theater - 10pm-2am - DJ Smoke (Reggae Gold)
01/10 (Thu)   – BAMM.tv Presents: The Ferocious Few (Live Video Taping)
01/10 (Thu)   - COP Club - Dinner Date Night
01/11 (Fri)   - Happy Hour with Chuy Gomez, 5pm-10pm, Omolara Ent.
01/11 (Fri)   - TasteMakers Jazz event
01/12 (Sat)   - TasteMakers R&B event
01/13 (Sun)   - Brunch Service, 11am-3pm
01/13 (Sun)   - Oldies Party, 3pm-7pm
01/15 (Tue)   - Taco Tuesday in the Lounge, 4pm-10pm, Happy Hour Menu - DJ Black Marc 106.1
01/15 (Tue)   - Tuesday Bluesday Jam
01/16 (Wed)   - Reggae Night in the Lounge (4-10pm) Happy Hour Food by Isla Vida
01/16 (Wed)   - Reggae Extension in Theater - 10pm-2am - DJ Smoke (Reggae Gold)
01/17 (Thu)   - Slam City! National Poetry Slam Competition (in assoc. with Paint a Picture Poets)
01/18 (Fri)   - Happy Hour with Chuy Gomez, 5pm-10pm, Omolara Ent.
01/18 (Fri)   - TasteMakers R&B event
01/18 (Fri)   - Dinner And A Movie: Dailies from the Fillmore Heritage Center Activation
01/19 (Sat)   - TasteMakers R&B event
01/20 (Sun)   - Brunch Service, 11am-3pm
01/20 (Sun)   - Oldies Party, 3pm-7pm
01/21 (Mon)   - MLK Day Celebration Brunch
01/22 (Tue)   - Taco Tuesday in the Lounge, 4pm-10pm, Happy Hour Menu - DJ Black Marc 106.1
01/22 (Tue)   - Tuesday Bluesday Jam
01/23 (Wed)   - Reggae Night in the Lounge (4-10pm) Happy Hour Food by Isla Vida
01/23 (Wed)   - Reggae Extension in Theater - 10pm-2am - DJ Smoke (Reggae Gold)
01/25 (Fri)   - Happy Hour with Chuy Gomez, 5pm-10pm, Omolara Ent.
01/25 (Fri)   - TasteMakers R&B event
01/26 (Sat)   - Bobbie “Spider” Webb’s Community Jam
01/27 (Sun)   - Brunch Service, 11am-3pm
01/27 (Sun)   - Oldies Party, 3pm-7pm
01/29 (Tue)   - Taco Tuesday in the Lounge, 4pm-10pm, Happy Hour Menu - DJ Black Marc 106.1
01/29 (Tue)   - Tuesday Bluesday Jam
01/30 (Wed)   - Reggae Night in the Lounge (4-10pm) Happy Hour Food by Isla Vida
01/30 (Wed)   - Reggae Extension in Theater - 10pm-2am - DJ Smoke (Reggae Gold)



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                                          JANUARY

WORKSHOPS

01/03 (Thu)   - Credit Matters, Part 2
01/08 (Tue)   - Overview of Affordable Housing Opportunities in San Francisco
01/08 (Tue)   - #TechJobs Workforce Development, Part 2
01/09 (Wed)   - Financial Empowerment Bootcamp (Part 1 of 3)
01/09 (Wed)   - Community Benefits Workshop and FAQ (DBL Associates)
01/10 (Thu)   - Credit Matters, Part 2
01/10 (Thu)   - Intermediate Venue Operations Workshop
01/11 (Fri)   - Rap / R&B Writing Workshop
01/15 (Tue)   - Fillmore Heritage Center Job Fair and Application Assistance
01/16 (Wed)   - Cover Your Assets
01/17 (Thu)   - Rental Readiness
01/17 (Thu)   - Intermediate Food Service Workshop
01/22 (Tue)   - #MediaMatters Workforce Development, Part 2
01/24 (Thu)   - First Time Homebuyer Workshop (Required for MOH Certificate)
01/31 (Thu)   - Homeownership Series: Are You Ready? (Part 4 of 4)

PUBLIC RELATIONS & MARKETING

- Promote Black History Month calendar through print, radio and digital media campaigns
- Conduct interviews and run promotional spots on KPOO, KBLX, KFOG, KQED, etc.
- Develop long-term marketing plan through Facebook, Pandora Radio, Spotify and Tunein Radio

COMMUNITY DEVELOPMENT

- Conduct qualitative and quantitative community surveys to evaluate quality of programming
- Develop new programming initiatives based on community input

SUBTENANT LEASE UP

- Conduct venue tours and evaluate community benefit plans for long-term subtenants

ADMINISTRATIVE

- Finalize 2019 calendar year budget
- Private investor outreach and due diligence
- Initiate plan to establish the Fillmore Heritage Center as a historic preservation site under the Mills Act




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                                    FEBRUARY
EVENTS

02/01 (Fri)   - Happy Hour with Chuy Gomez, 5pm-10pm, Omolara Ent.
02/01 (Fri)   - Black History Month Kickoff Party
02/01 (Fri)   - MoAD Gallery Opening
02/02 (Sat)   - TasteMakers Jazz event
02/03 (Sun)   - Brunch Service, 11am-3pm
02/03 (Sun)   - Oldies Party, 3pm-7pm
02/05 (Tue)   - Taco Tuesday in the Lounge, 4pm-10pm, Happy Hour Menu - DJ Black Marc 106.1
02/05 (Tue)   - Tuesday Bluesday Jam
02/06 (Wed)   - Reggae Night in the Lounge (4-10pm) Happy Hour Food by Isla Vida
02/06 (Wed)   - Reggae Extension in Theater - 10pm-2am - DJ Smoke (Reggae Gold)
02/07 (Thu)   - IndieFest: SF Independent Film Festival (Screening Room)
02/08 (Fri)   - Happy Hour with Chuy Gomez, 5pm-10pm, Omolara Ent.
02/08 (Fri)   - Black History Month - Phenomenal Women Celebration
02/09 (Sat)   - TasteMakers R&B event
02/09 (Sat)   - IndieFest: SF Independent Film Festival (Screening Room)
02/10 (Sun)   - Brunch Service, 11am-3pm
02/10 (Sun)   - Oldies Party, 3pm-7pm
02/12 (Tue)   - Taco Tuesday in the Lounge, 4pm-10pm, Happy Hour Menu - DJ Black Marc 106.1
02/12 (Tue)   - Tuesday Bluesday Jam
02/13 (Wed)   - Reggae Night in the Lounge (4-10pm) Happy Hour Food by Isla Vida
02/13 (Wed)   - Reggae Extension in Theater - 10pm-2am - DJ Smoke (Reggae Gold)
02/14 (Thu)   - Do It For The Love With Michael Franti
02/14 (Thu)   - IndieFest: SF Independent Film Festival (Screening Room)
02/15 (Fri)   - Happy Hour with Chuy Gomez, 5pm-10pm, Omolara Ent.
02/15 (Fri)   - DL Productionz: Soul Train Bash, Part 2
02/16 (Sat)   - TasteMakers Jazz event
02/17 (Sun)   - Brunch Service, 11am-3pm
02/17 (Sun)   - Oldies Party, 3pm-7pm
02/17 (Sun)   - Personal Touch event
02/18 (Mon)   - Monday Night Blues Jam
02/19 (Tue)   - Taco Tuesday in the Lounge, 4pm-10pm, Happy Hour Menu - DJ Black Marc 106.1
02/19 (Tue)   - Tuesday Bluesday Jam
02/20 (Wed)   - Reggae Night in the Lounge (4-10pm) Happy Hour Food by Isla Vida
02/20 (Wed)   - Reggae Extension in Theater - 10pm-2am - DJ Smoke (Reggae Gold)
02/21 (Thu)   - IndieFest: SF Independent Film Festival (Screening Room)
02/22 (Fri)   - Happy Hour with Chuy Gomez, 5pm-10pm, Omolara Ent.
02/22 (Fri)   - Black History Month - Unite the City!
02/23 (Sat)   - TasteMakers R&B event
02/24 (Sun)   - Brunch Service, 11am-3pm
02/24 (Sun)   - Oldies Party, 3pm-7pm
02/26 (Tue)   - Taco Tuesday in the Lounge, 4pm-10pm, Happy Hour Menu - DJ Black Marc 106.1
02/26 (Tue)   - Tuesday Bluesday Jam
02/27 (Wed)   - Reggae Night in the Lounge (4-10pm) Happy Hour Food by Isla Vida
02/27 (Wed    - Reggae Extension in Theater - 10pm-2am - DJ Smoke (Reggae Gold)




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                                          FEBRUARY

WORKSHOPS

02/05 (Tue)   - #TechJobs Workforce Development, Part 1
02/05 (Tue)   - Overview of Affordable Housing Opportunities in San Francisco
02/06 (Wed)   - Community Benefits Workshop and FAQ (DBL Associates)
02/07 (Thu)   - Credit Matters, Part 1
02/07 (Thu)   - Intro To Venue Operations Workshop
02/08 (Fri)   - Rap / R&B Writing Workshop
02/09 (Sat)   - Volunteer Income Tax Assistance (VITA) and Tax Consulting
02/12 (Tue)   - Fillmore Heritage Center Job Fair and Application Assistance
02/12 (Tue)   - Real Estate Investment Trust (REIT) Workshop (DBL Associates)
02/13 (Wed)   - Money Matters! “Keep Your Mind On Your Money”
02/14 (Thu)   - Rental Readiness
02/14 (Thu)   - Intro To Food Service Workshop
02/16 (Sat)   - Volunteer Income Tax Assistance (VITA) and Tax Consulting
02/19 (Tue)   - Educators Housing Clinic
02/19 (Tue)   - #MediaMatters Workforce Development, Part 1
02/20 (Wed)   - Student Loan Debt Workshop
02/21 (Thu)   - First Time Homebuyer Workshop (Required for MOH Certificate)
02/21 (Thu)   - Intermediate Venue Operations Workshop
02/23 (Sat)   - Volunteer Income Tax Assistance (VITA) and Tax Consulting
02/28 (Thu)   - Homeownership Series: Are You Ready? (Part 1 of 4)
02/28 (Thu)   - Intermediate Food Service Workshop

PUBLIC RELATIONS & MARKETING

- Promote VITA tax preparation services through social media and public service announcements
- Private media screenings for Fillmore Heritage Center Documentary

COMMUNITY DEVELOPMENT

- Establish and promote voter registration services for walk-in clients
- Conduct qualitative and quantitative community surveys to inform programming and services
- Refer and schedule housing counseling services to Bayview and Success Center locations
- Distribute Statement of Interest forms and assist with workforce applications

SUBTENANT LEASE UP

- Sign long-term lease agreements pending City approval

ADMINISTRATIVE

- Private investor outreach and due diligence
- Mills Act historic preservation application
- Execute long-term City lease agreement and/or prepare purchase agreement




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                                            MARCH
EVENTS

03/01 (Fri)   - Happy Hour with Chuy Gomez, 5pm-10pm, Omolara Ent.
03/01 (Fri)   - First Friday Gallery Opening
03/02 (Sat)   - TasteMakers Jazz event
03/03 (Sun)   - Brunch Service, 11am-3pm
03/03 (Sun)   - Oldies Party, 3pm-7pm
03/05 (Tue)   - Taco Tuesday in the Lounge, 4pm-10pm, Happy Hour Menu - DJ Black Marc 106.1
03/05 (Tue)   - Tuesday Bluesday Jam
02/06 (Wed)   - Reggae Night in the Lounge (4-10pm) Happy Hour Food by Isla Vida
03/06 (Wed)   - Reggae Extension in Theater - 10pm-2am - DJ Smoke (Reggae Gold)
03/07 (Thu)   - BAMM.tv Presents: DLRN feat. Stevie Nader (Live Video Taping)
03/08 (Fri)   - Happy Hour with Chuy Gomez, 5pm-10pm, Omolara Ent.
03/09 (Sat)   - TasteMakers R&B event
03/10 (Sun)   - Brunch Service, 11am-3pm
03/10 (Sun)   - Oldies Party, 3pm-7pm
03/12 (Tue)   - Taco Tuesday in the Lounge, 4pm-10pm, Happy Hour Menu - DJ Black Marc 106.1
03/12 (Tue)   - Tuesday Bluesday Jam
03/13 (Wed)   - Reggae Night in the Lounge (4-10pm) Happy Hour Food by Isla Vida
03/13 (Wed)   - Reggae Extension in Theater - 10pm-2am - DJ Smoke (Reggae Gold)
03/14 (Thu)   - COP Club - Dinner Date Night
03/15 (Fri)   - Happy Hour with Chuy Gomez, 5pm-10pm, Omolara Ent.
03/16 (Sat)   - TasteMakers Jazz event
03/17 (Sun)   - Brunch Service, 11am-3pm
03/17 (Sun)   - Oldies Party, 3pm-7pm
03/17 (Sun)   - Personal Touch event
03/18 (Mon)   - Monday Night Blues Jam
03/19 (Tue)   - Taco Tuesday in the Lounge, 4pm-10pm, Happy Hour Menu - DJ Black Marc 106.1
03/19 (Tue)   - Tuesday Bluesday Jam
03/20 (Wed)   - Reggae Night in the Lounge (4-10pm) Happy Hour Food by Isla Vida
03/20 (Wed)   - Reggae Extension in Theater - 10pm-2am - DJ Smoke (Reggae Gold)
03/21 (Thu)   - IndieFest: SF Independent Film Festival (Screening Room)
03/22 (Fri)   - Happy Hour with Chuy Gomez, 5pm-10pm, Omolara Ent.
03/23 (Sat)   - TasteMakers R&B event
03/24 (Sun)   - Brunch Service, 11am-3pm
03/24 (Sun)   - Oldies Party, 3pm-7pm
03/26 (Tue)   - Taco Tuesday in the Lounge, 4pm-10pm, Happy Hour Menu - DJ Black Marc 106.1
03/26 (Tue)   - Tuesday Bluesday Jam
03/27 (Wed)   - Reggae Night in the Lounge (4-10pm) Happy Hour Food by Isla Vida
03/27 (Wed)   - Reggae Extension in Theater - 10pm-2am - DJ Smoke (Reggae Gold)
03/29 (Fri)   - Fillmore Heritage Center Documentary - VIP Pre-Party
03/30 (Sat)   - Fillmore Heritage Center Documentary - Public Release Party and Screening




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                                                  MARCH

WORKSHOPS

03/02 (Sat)   - Volunteer Income Tax Assistance (VITA) and Tax Consulting
03/05 (Tue)   - #TechJobs Workforce Development, Part 2
03/05 (Tue)   - Overview of Affordable Housing Opportunities in San Francisco
03/06 (Wed)   - Community Benefits Workshop and FAQ (DBL Associates)
03/07 (Thu)   - Credit Matters, Part 2
03/07 (Thu)   - Intermediate Venue Operations Workshop
03/08 (Fri)   - Rap / R&B Writing Workshop
03/09 (Sat)   - Volunteer Income Tax Assistance (VITA) and Tax Consulting
03/12 (Tue)   - Fillmore Heritage Center Job Fair and Application Assistance
03/12 (Tue)   - Real Estate Investment Trust (REIT) Workshop (DBL Associates)
03/13 (Wed)   - Money Matters! “Keep Your Mind On Your Money”
03/14 (Thu)   - Rental Readiness
03/14 (Thu)   - Intermediate Food Service Workshop
03/16 (Sat)   - Volunteer Income Tax Assistance (VITA) and Tax Consulting
03/19 (Tue)   - Educators Housing Clinic
03/19 (Tue)   - #MediaMatters Workforce Development, Part 2
03/20 (Wed)   - Student Loan Debt Workshop
03/21 (Thu)   - First Time Homebuyer Workshop (Required for MOH Certificate)
03/21 (Thu)   - Intermediate Venue Operations Workshop
03/28 (Thu)   - Homeownership Series: Are You Ready? (Part 2 of 4)




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FEATURED PROMOTER:    TASTEMAKER
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                                  Oakland, CA (SF Bay Area) • 415-756-0732 Mobile
                          tastemakerliveconcerts.com • facebook.com/tastemakerliveconcerts
   Tastemaker Live produces 80 – 100 shows yearly in a variety of US markets, primarily on the West Coast, buying in
   bulk from major and boutique agencies. We work in partnership with Los Angeles based promoter, Sean Healy
   Presents / WeBookBands which books as many as 250 concerts nationally nation wide.

   Together we work heavily with top tier booking agencies, ICM, CAA, WME, UTA, Paradigm and boutique agents as
   well. We are confident that our strong relationships with seasoned agents on both coasts will allow us to fill the
   calendar with a healthy number of live act tour dates.

   At the Fillmore Heritage Center, we will need a minimum of six weeks leadtime to book most shows, but often
   agencies will route as far out as three months or more. Therefore, an initial three month ramp up period would
   begin with our focusing on filling most weekend nights (Fridays and Saturdays), along with the occasional week-
   day night, leading to an average of eight shows per month for the first few months of booking. We will aim for 12
   shows a month shortly thereafter, adding Thursdays and/or Sundays with the occasional early or midweek
   routed tour date once agents have been reintroduced to the venue and have begun to add it to their route
   books. After six months, we will aim to book 16 shows a month filling Thursdays through Sundays and other
   off-nights. Our objective is to average 20 shows or more per month after having operated for at least a year.

   We work with a wide variety of talent and believe that much of the programming that was successful at Yoshi’s
   San Francisco is still viable. However, to be competitive in a very hostile market, an effective buyer must be as
   versatile as the space allows. Inside this space, we can produce seated Jazz, R&B and singer/songwriter concerts
   along with comedy and any other adult contemporary fully seated shows, booking multi-date appearances to
   deliver some of the larger acts that have previously played the room. That said, in order to really maximize the
   potential of space, we would increase the volume of shows that keep the dance floor open. These shows may
   include booking alternative R&B, indie Rock, reggae, classic hip-hop and a variety of other genres that play to a
   younger and more active demographic. This strategy of wide open programming is conducive to building a full
   and exciting calendar which, in turn, will foster a revitalized neighborhood block with a dynamic and multifac-
   eted concert scene.

   TML & SHP have produced concerts with stars, Kendrick Lamar, J. Cole, Snoop Dogg, Green Day, Bone Thugs-N-
   Harmony, School Boy Q, Jhene Aiko, Big Sean, Anthony Hamilton, Floetry, Anderson.Paak, Miguel, Partynextdoor,
   SZA, The Internet, Ella Mai, Jorja Smith, blackbear, Kelela, Ravyn Lenae, Daniel Caesar, Moonchild, Snoh Aalegrah,
   The Robert Glasper Experiment, Kamasi Washington, Christian Scott, Ledisi, K. Michelle, Musiq Soulchild, Cee-lo,
   G-Easy, Logic, Kyle, Tory Lanez, Wale, JoJo, Big B.O.I., Wyclef, Lupe Fiasco, Fabolous, Pusha T, Curren$y, MGK, Big
   K.R.I.T., Isaiah Rashad, Hopsin, Freddie Gibbs, Rakim, Method Man, Ghostface Killah, Lil Kim, Mos Def, Talib Kweli,
   Digable Planets, The-Dream, Lalah Hathaway, Estelle, Leela James, Daley, Marsha Ambrosius, Tank, Eric Benet,
   Marc E. Bassy, French Montana, Young M.A, Dwele, Foreign Exchange, Teddy Riley & Blackstreet, Bilal, Sevyn
   Streeter, Rebelution, Barrington Levy, Tarrus Riley, Morgan Heritage, Ky-Mani Marley, Kranium, Christopher
   Martin, Anthony B, Protoje, Alborosie, Phonte, Dom Kennedy, DJ Quik, Dumbfoundead, Warren G, O-Town, Big
   Freedia, Cupcakke, Felly, Jeremy Zucker, Sound Remedy, Saxon & Fozzy, Radical Something, John Waters,
   Mark Ellis and many more.




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FEATURED PROMOTER:    PERSONAL TOUCH
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                          PersonalTouchSF.com | Facebook.com/PersonalTouchSF

       Event Hosting Proposal for Fillmore Heritage Center
       Today's Date: Wednesday, September 5, 2018

       Event Coordinator: Lloyd Lewis/Personal Touch Entertainment

       Lloyd Lewis, President and Co-Founder of Personal Touch Entertainment, a San Francisco-
       based company that was founded in 1999, has over twenty years of marketing, promotions
       and entrepreneurial experience. He successfully produces, promotes and organizes operations
       for 100+ events per year. These include concerts, charity events, fashion shows, nightclub
       entertainment, comedy, and celebrity events.

       Personal Touch Entertainment also offers event consultation and can help clients with staffing
       needs, ranging from booking a DJ or venue, sound and lighting equipment, flyer design,
       printing invitations, security and a host of other services. We currently have over 25,000
       members throughout the Bay Area and specialize in marketing urban events.

       Beginning in 2012 to present, Personal Touch Entertainment has been a partner with Live
       Nation Entertainment, Inc. and currently serves as an independent marketing vendor.
       Developing and implementing 20-30 email marketing and social media campaigns per year
       targeting Personal Touch Entertainment followers to attend Live Nation North America and
       Global Concert Tours and Comedy Shows. Promoted artists and comedians including Beyoncé,
       Jay Z, Drake, Kevin Hart, Kendrick Lamar, Janet Jackson, Maxwell, Future, Nas, Chris Brown,
       Snoop Dogg, Nicki Minaj, Mike Epps, Wiz Khalifa, Lionel Richie, Earth, Wind & Fire, and more.

       Personal Touch Entertainment is also a donor, supporter and creator of successful fundraising
       events for local and international nonprofit youth organizations including United Playaz,




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         PROMOTER:            Document
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        CoolHandCam Ent.

        Yoshi's Events

        Good evening,

        Below are nights we would love to build with Yoshi's

        We think there is a huge market in the 18+ right now. College just started and if we tap
        in with the colleges they'll support us especially once they get to be around Karim's
        network of people.
         -
        Friday's 18 and over + college nights - weekly starting October 5th
        We have bel-air champagne willing to sponsor and host these events - This would be
        only for the 21 and over area.
        We have numerous local famous talents (lil yee, lil pete, Mr Fab, etc) we could use to
        make this grow into something crazy special.

        Salsa band Saturday's day or night party - Bi-weekly - Use the ramp restaurant as an
        example. People go crazy to be at this place but its the only place around and people
        are looking for a new location.

        Reggaeton/hip hop Saturday's 18 and over event - Bi-Weekly. There is a huge
        market for these events. Especially if we invest in artists. We have great connections
        with artist around the world.

        Roots Reggae Sunday's 18 + - Weekly - in the Fillmore area this would be huge. This
        is a huge reggae scene area. I would love to hire cover bands and top djs for this
        event.

        With Personal Touch - Lloyd is a great marketing guru he should be with us all around
        Tasty Thursday's - 21 and over - weekly

        Amateur Comedy Nights Wednesday - Bi Weekly.

        These are just a few ideas but we have numerous other ones that could work and fit the
        visions.

        Over the past 2 years we have built numerous parties in all genres. With a good
        marketing team which we've been working on and a gorgeous untarnished location we
        can make magic.

        I can send over what we've done in the past if you'd like.
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FILLMORE HERITAGE CENTER EQUITY PARTNERS



                         UPDATES FROM 8-31-18 WALK THROUGH



   On August 31, 2018, the Partners conducted a walk through of the Fillmore Heritage Center
   to test kitchen, restaurant and auditorium equipment for readiness and develop a checklist in
   anticipation of inspections and permitting. Based on the preliminary 5 hours of testing and due
   diligence, the Partners submit the following progress report:

   KITCHEN

   Operating Equipment:

   •   Walk-In Freezer - functional; cooled to 10 degrees
   •   Beverage Walk-In Refrigerator - functional; cooled to 30 degrees
   •   Dishwasher - final rinse temp. may need adjustment and health inspection cert.
   •   Plug-In Cook Line Refrigerators - functional; cooled to 40 degrees
   •   Bar Refrigerators - functional; cooled to 30 degrees
   •   Mezzanine Floor Refrigerators, Small Dishwasher and Small Ice Machine - all functional
   •   Hood Exhaust Fans - all fans operational but need to be tested with food prep.
   •   Sinks and Drains - all functional, no clogs detected
   •   Roof Equipment & HVAC - all functional, recommend new belts and filters

   Non-Operating Equipment:

   •   Restaurant Ice Machine - power was secured and unit had previously been worked on
   •   Water Heater - power was secured and unit had previously been worked on
   •   Walk-In Refrigerators 1 & 2 - no cooling, refrigerant side needs further trouble shooting;
       problem likely in temperature control circuit or defrost timer - will require man-hours and
       possibly replacement parts.
   •   Dumbwaiter - maintenance required and operating permits need to be renewed
   •   Soda Dispensers - technician from e.g. Coca-Cola needs to be called out

   Additional Discovery Required:

   •   Mezzanine Restrooms had “Out Of Order” signs posted. Toilets operated normally; however,
       several unions had minor leaks and may need new seals. Sink motion sensors need new
       batteries. Recommend sewer inspection to ensure no partial clogs during high usage.
   •   No gas-operated equipment was tested without the presence of a City representative due
       to concerns of possible gas leak.
   •   Kitchen needs deep clean by professional cleaners and further inspection of equipment


   RESTAURANT / LOUNGE

   •   Point-of-Sale (POS) Hardware - POS units were nonresponsive; recommend replacing units
       with tablets and cloud-based transaction software from a dedicated vendor
   •   Lights - master controls and dimmers functional; 10% of light bulbs need replacement
   •   Elevator - operating permits need to be renewed



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AUDITORIUM

Operating Equipment:

•   Sound Boards - all audio channels, compressors and master controls functioning normally
•   Front of House Sound - signal was passed through all house speakers; no issues detected
•   Lighting Board - all lighting controls functioning normally
•   House Lighting - incandescant and LED lights and dimmers functioning normally
•   PAR Lights / Lighting Grid - all PAR bulbs functional; cans securely fastened to lighting grid
•   Stage Video Cameras / Switcher - video signal successfully routed to TV in lounge

Non-Operating Equipment:

•   DJ / Dance Floor Lighting - moving head is functional but unable to activate LED light
•   Video Camera - 1 of 3 video cameras has dropped signal to switcher
•   Video Remote Control - power was secured to unit but controls nonresponsive

Additional Discovery Required:

•   Stage Monitors - unable to access units from locked cage backstage
•   Backline - unable to access equipment from locked cage backstage
•   Equipment Lift - did not secure power to unit
•   Green Room - did not access during site visit




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